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                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA


                                        CRIMINAL MINUTES

 Date: February 9, 2023          Time: 10:49 – 11:47               Judge: YVONNE GONZALEZ ROGERS
 Case No.: 22-cr-00104-          Case Name: UNITED STATES v. Enrique Chavez (PRESENT)
 YGR-1

Attorney for Plaintiff: Andrew Jay Paulson, Molly Priedeman
Attorney for Defendant: Steve Gary Kalar

  Deputy Clerk: Aris Garcia                           Reported by: Raynee Mercado
                                                      Probation Officer: Katrina Chu


                                            PROCEEDINGS

SENTENCING – HELD

Portions of the PSR are struck and modified by the Court for the reasons stated on the record.

Count 2: Defendant is committed to the custody of the Bureau of Prisons for a term of 20 months.
Defendant placed on Supervised Release for a term of 10 years.
A $100 Assessment is due immediately. Fine waived.

Government shall provide a list of names the defendant shall not have contact with.

The defendant shall self-surrender by 5:00 p.m. to either the designated facility or the U.S. Marshal in
the Oakland Courthouse by 4/7/2023.

The Court recommends the defendant NOT be designated to a facility in California

Count 1 is Dismissed on motion by the government.
